Case 23-12076-amc      Doc 88    Filed 06/27/24 Entered 06/27/24 15:05:47          Desc Main
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                         United States Bankruptcy Court
                         Eastern District of Pennsylvania
                                                  Case No.23-12076amc
  In re:
                                                  Chapter 13
       Joanne M. Trujillo,
                                                  Related to ECF No. 57
                      Debtor.

           Order Dismissing Chapter 13 Case and Setting Deadline for
             Applications for Allowance of Administrative Expenses

    AND NOW, upon consideration of the Motion to Dismiss Case filed by Kenneth E. West,
Standing Trustee (“the Trustee”), and after notice and hearing, it is hereby ORDERED that:

   1. This chapter 13 bankruptcy case is DISMISSED.

   2. Any wage orders previously entered are VACATED.

   3. Pursuant to 11 U.S.C. §349(b)(3), the undistributed chapter 13 plan payments in the
      possession of the Trustee shall not revest in the entity in which such property was
      vested immediately before the commencement of the case. All other property of the
      estate shall revest pursuant to 11 U.S.C. §349(b)(3).

   4. All applications for allowance of administrative expenses (including applications for
      allowance of professional fees) shall be filed within twenty (20) days of the entry of
      this Order.

   5. Promptly after the expiration of the response period for any application
      authorized by Paragraph 4 above, Counsel for the Debtor shall file either:

       a. a Certification of No Response confirming that neither an objection to the proposed
          compensation nor an application for administrative expense has been filed; or

       b. a Certification that an objection or an application has been filed (after which the
          Clerk shall schedule a hearing on all such applications).

   6. If no Certification, as required above in Paragraph 5 has been entered on the docket
      within sixty-three (63) days of the entry of this Order, then the Standing Trustee shall:
      (a) if any applications for administrative expenses other than Debtor’s Counsel’s have
      been filed, request a hearing thereon or (b) if no such applications have been filed,
      return the undistributed chapter 13 plan payments in his possession to Debtor
      pursuant to 11 U.S.C. §1326(a)(2).




Date: June 27, 2024
                                               Ashely M. Chan
                                               U.S. Bankruptcy Judge
